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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TRUSTEES OF THE NATIONAL AUTOMATIC
SPRINKLER INDUSTRY WELFARE FUND,
TRUSTEES OF THE NATIONAL AUTOMATIC
SPRINKLER LOCAL 669 UA EDUCATION FUND,
TRUSTEES OF THE NATIONAL AUTOMATIC
SPRINKLER INDUSTRY PENSION FUND, TRUSTEES
OF THE SPRINKLER INDUSTRY SUPPLEMENTAL
PENSION FUND, TRUSTEES OF THE
INTERNATIONAL TRAINING FUND, ROAD
SPRINKLER FITTERS LOCAL UNION NO. 669
WORK ASSESSMENTS AND EXTENDED BENEFIT FUND
8000 Corporate Drive

Landover, MD 20785,

Plaintiffs,

v. C.A. NO.
ALL SYSTEMS FIRE PROTECTION COMPANY, INC.
1251 Linden Vue Drive

Canonsburg, PA 15317-9605

Serve: Craig M. Bingham, President
1536 Celebration Circle
Bridgeville, PA 15017

and

CRAIG M. BINGHAM
1536 Celebration Circle
Bridgeville, PA 15017

Serve: Craig M. Bingham, President
1536 Celebration Circle
Bridgeville, PA 15017

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Defendants.
COMPLAINT

(FOR BREACH OF COLLECTIVE BARGAINING AGREEMENT,
TO COLLECT CONTRIBUTIONS DUE TO PLAINTIFF FUNDS
AND FOR BREACH OF SETTLEMENT AGREEMENT)
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Parties

l. Plaintiffs Trustees of the National Automatic Sprinkler Industry Welfare Fund,
Trustees of the National Automatic Sprinkler Local 669 UA Education Fund, Trustees of the
National Automatic Sprinkler Industry Pension Fund, Trustees of the Sprinkler Industry
Supplemental Pension Fund, Trustees of the International Training Fund and Road Sprinkler
Fitters Local Union No. 669 Work Assessments and Extended Benefit Fund (hereinafter "NASI
Funds") are employee benefit plans as that term is defined in Section 3(3) of the Employee
Retirement Income Security Act ("ERISA") of 1974, 29 U.S.C. § 1002(3). Plaintiff Funds are
established and maintained according to the provisions of the Restated Agreements and
Declarations of Trust establishing the NASI Funds (hereinafter “Trust Agreements”) and the
Collective Bargaining Agreements between Road Sprinkler Fitters Local Union No. 669 and
Sprinkler Fitters Local Union 542 (hereinafter “the Union”) and the Defendant All Systems Fire
Protection Company, Inc. (hereinafter “All Systems”). The NASI Funds are administered at 8000
Corporate Drive, Landover, Maryland 20785.

2. Defendant All Systems is a corporation existing under the laws of the State of
Pennsylvania with offices located in Pennsylvania. Defendant transacts business in the State of
Pennsylvania as a contractor or subcontractor in the sprinkler industry and all times herein was an
"employer in an industry affecting commerce" as defined in Sections 501(1), (3), 2(2) of the
Labor-Management Relations Act, 29 U.S.C. Sections 142(1), (3) and 152(2); Section 3(5), (9),
(11), (12), (14) of ERISA, 29 U.S.C. Sections 1002(5), (9), (11), (12), (14); and Section 3 of the
Multi-Employer Pension Plan Amendments of 1980, 29 U.S.C. § 1001(a).

3. Defendant Craig M. Bingham is the President of the Defendant All Systems and is a

resident of the state of Pennsylvania.
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Jurisdiction

4, This Court has jurisdiction of this action under Sections 502 and 515 of the
Employee Retirement Income Security Act, 29 U.S.C. §§ 1132 and 1145, and under Section 301
of the Labor-Management Relations Act, 29 U.S.C. § 185(a). This is an action for breach of a
Collective Bargaining Agreement between an employer and a labor organization representing
employees in an industry affecting commerce and an action to collect contributions due to
employee benefit plans under the terms of the Collective Bargaining Agreement and an action for
breach of a Settlement Agreement and Promissory Note.

COUNT I

5, Defendant All Systems is signatory to Collective Bargaining Agreements with the
Union requiring contributions to the NASI Funds for each hour of work by employees performing
installation of automatic sprinkler systems.

6. Defendant All Systems is bound to the Trust Agreements and to the Guidelines
for Participation in the NASI Funds (hereinafter “Guidelines”).

Ts Defendant All Systems employed certain employees covered by the Collective
Bargaining Agreement during the period of January 2015 through the present.

8. The Defendant All Systems experienced substantial difficulty in making the
required benefit contributions owed to the NASI Funds. In response to these difficulties, the
NASI Funds and said Defendant entered into a Settlement Agreement and Promissory Note
(hereinafter "settlement documents") allowing for a systematic payment over time of all amounts
owed to the NASI Funds. These settlement documents required, inter alia, the payment of the
principal amount of $243,014.98 by said Defendant to the NASI Funds in monthly installment

payments over a period of eighteen months. The settlement documents further provided that the
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Defendant All Systems remain current in all future contributions to the NASI Funds for the
duration of the settlement and file all monthly report forms and payments on time as required by
the Funds' Trust Agreements. Liquidated damages in the amount of $92,579.75 were waived
contingent upon the Defendant All Systems making each and every one of the scheduled payments
as they became due under this Agreement and contingent upon the Defendant remaining current in
its monthly contributions for the duration of the settlement.

9. Defendant Craig M. Bingham (hereinafter “Bingham”) personally executed these
settlement documents pursuant to which he committed himself to act as guarantor for all amounts
owed by the Defendant All Systems to the NASI Funds inclusive of future monthly contributions
owed to the NASI Funds for the duration of the settlement.

10. The Defendant All Systems has defaulted on the terms of the settlement documents
by failing to pay contributions owed to the NASI Funds for the months of March and April 2019.
Pursuant to the terms of the settlement documents, Defendant All Systems is in default and the
amount of $230,518.19 for contributions and reinstated liquidated damages currently owed under the
settlement documents is immediately due and payable to the NASI Funds.

Il. Defendant All Systems has failed to make contributions due to Plaintiff Funds on
behalf of its employees for the months of March and April 2019. In addition, Defendant has
failed to submit report forms for these months. Pursuant to the terms of the Collective Bargaining
Agreement, Defendant is obligated to submit report forms and pay contributions owed to Plaintiff
Funds.

12. Pursuant to Article VI, Section 6 of the Restated Agreements and Declarations of

Trust establishing the NASI Funds, when an employer fails to file the properly completed report
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forms, in order to determine the amounts due, the Funds are authorized to project the delinquency

amount using the following formula:

... The Trustees may project as the amount of the delinquency the greater
of (a) the average of the monthly payments or reports submitted by the
Employer for the last three (3) months for which payments or reports were
submitted, or (b) the average of the monthly payments or reports submitted
by the Employer for the last twelve (12) months for which payments or
reports were submitted . . .

13. Using report forms submitted for the last three (3) months for which reports were

submitted, the projected delinquency for the months of March and April 2019 is $41,807.50

calculated as follows:

 

Month Welfare Education Pension SIS ITF Wrk Asst’s Ext. Ben.
Dec. 2018 $8,889.05 $178.08 $6,092.80 $5,009.60 $95.20 $849.71 $106.00
Jan. 2019 $9,281.52 $193.20 $6,309.60 $5,070.00 $95.60 $920.10 $115.00
Feb. 2019 $8,378.16 $141.12 $5,728.80 $4,509.40 $86.80 $672.01 $84.00
Monthly

Average: $8,849.58 $170.80 $6,043.73 $4,863.00 $92.53 $813.94 $101.67

14. Defendant All Systems’ contributions owed on behalf of its sprinkler fitter
employees for the months of November 2018 through February 2019 were paid late. The specific
amounts paid and the date in which the Defendant’s contributions were received by the NASI Funds
are set forth on the attached breakdown (Exhibit A). Defendant All System’s contributions owed on
behalf of its sprinkler fitter employees for the month of March 2019 are late.

15. Pursuant to the Trust Agreements and the Guidelines for Participation in the NASI
Funds, an employer who fails to pay the amounts required by the Collective Bargaining Agreement

on time shall be obligated to pay liquidated damages as follows:

(1) If payment is not received in the Funds Office by the 15th of the
month, 10% of the amount is assessed.

(2) An additional 5% is added if payment is not received in the

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Funds Office by the last working day of the month in which
payment was due.
(3) An additional 5% is added if payment is not received by the
15th of the month following the month in which payment was
due.

16. Pursuant to this provision, Defendant All Systems is obligated to Plaintiff Funds in
the amount of $19,510.95 in liquidated damages assessed on late contributions for the months of
November 2018 through March 2019, plus interest from the date of delinquency through the date of
payment at the rate provided in 29 U.S.C. Section 1132(g) and the Restated Agreements and
Declarations of Trust establishing the NASI Funds.

17. Pursuant to the terms of the settlement documents, the Defendant Bingham is jointly
and severally liable for all amounts owed by the Defendant All Systems to the NASI Funds.
Accordingly, the Defendant Bingham is liable to the NASI Funds for the sum of $291,899.64, plus
costs, interest and attorneys’ fees.

WHEREFORE, in Count I, Plaintiff Funds pray for judgment against the Defendants All
Systems and Bingham, jointly and severally, as follows:

A. In the amount of $230,518.19 as currently owed under the terms of the settlement
documents.

B. In the amount of $41,870.50 for contributions due for work performed during the
months of March and April 2019, plus costs, interest, and reasonable attorneys' fees assessed
pursuant to 29 U.S.C. § 1132(g), the Trust Agreements and the Guidelines for Participation in the
NASI Funds.

C. In the amount of $19,510.95 for liquidated damages assessed on late contributions
for the months of November 2019 through March 2019, plus costs, interest, and reasonable

attorneys’ fees assessed pursuant to 29 U.S.C. § 1132(g), the Trust Agreements and the Guidelines

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for Participation in the NASI Funds.

D. For costs, interest, and reasonable attorneys’ assessed pursuant to 29 U.S.C.
§ 1132(g), the Trust Agreements and the Guidelines for Participation in the NASI Funds.

E. For all contributions and liquidated damages which become due subsequent to the
filing of this action through the date of judgment, plus costs, interest, and reasonable attorneys’ fees,

pursuant to 29 U.S.C. § 1132(g) and the Restated Agreements and Declarations of Trust establishing

the NASI Funds.
FE, For such further relief as the Court may deem appropriate.
Respectfully submitted,

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By: /s/
Charles W. Gilligan
Maryland Bar No. 05682
Attorneys for Plaintiffs

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CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing Complaint has been served by certified mail,
as required by 502(h) of the Employee Retirement Income Security Act of 1974, 29 U.S.C. §
1132(h) this 13th day of May, 2019 on the following:

The Office of Division Counsel

Associate Chief Counsel (TE/GE) CC: TEGE
Room 4300

1111 Constitution Avenue

Washington, DC 20224

Attention: Employee Plans

Secretary of Labor

200 Constitution Avenue, N.W.

Washington, DC 20210

ATTENTION: Assistant Solicitor for
Plan Benefits Security

/s/
Charles W. Gilligan

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